Case 18-50214-rlj11 Doc 893 Filed 01/22/19                   Entered 01/22/19 16:24:09             Page 1 of 12



                              1
                                  IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE NORTHERN DISTRICT OF TEXAS
                                             LUBBOCK DIVISION

IN RE:                                 §
                                       §
REAGOR-DYKES MOTORS, LP                §                     Case No. 18-50214-rlj11
                                       §
       Debtor.                         §
 _____________________________________________________________________________
IN RE:                                 §
                                       §
REAGOR-DYKES IMPORTS, LP               §                     Case No. 18-50215-rlj11
                                       § (Jointly Administered Under Case 18-50214)
       Debtor.                         §
 _____________________________________________________________________________
IN RE:                                 §
                                       §
REAGOR-DYKES AMARILLO, LP              §                     Case No. 18-50216-rlj11
                                       § (Jointly Administered Under Case 18-50214)
       Debtor.                         §
 _____________________________________________________________________________
IN RE:                                 §
                                       §
REAGOR-DYKES AUTO COMPANY, LP          §                     Case No. 18-50217-rlj11
                                       § (Jointly Administered Under Case 18-50214)
       Debtor.                         §
 _____________________________________________________________________________
IN RE:                                 §
                                       §
REAGOR-DYKES PLAINVIEW, LP             §                     Case No. 18-50218-rlj11
                                       § (Jointly Administered Under Case 18-50214)
       Debtor.                         §
 _____________________________________________________________________________
IN RE:                                 §
                                       §
REAGOR-DYKES FLOYDADA, LP              §                     Case No. 18-50219-rlj11
                                       § (Jointly Administered Under Case 18-50214)
       Debtor.                         §

                 AIMBANK’S MOTION FOR RELIEF FROM AUTOMATIC STAY
                               AND TO ALLOW SETOFF


1
 Per court order, this is a jointly administrated bankruptcy with In re Reagor-Dykes Imports, LP (Case No. 18-50215,
In re Reagor-Dykes Amarillo, LP (Case No. 18-50216), In re Reagor-Dykes Auto Company, LP (Case No. 18-50217),
In re Reagor-Dykes Plainview, LP (Case No. 18-50218) and In re Reagor-Dykes Floydada, LP (Case No. 18-50219).

                                                         1
20170101.20180569/3177017.1
Case 18-50214-rlj11 Doc 893 Filed 01/22/19         Entered 01/22/19 16:24:09     Page 2 of 12




          PURSUANT TO LOCAL BANKRUPTCY RULE 4001-1(b), A RESPONSE
          IS REQUIRED TO THIS MOTION, OR THE ALLEGATIONS IN THE
          MOTION MAY BE DEEMED ADMITTED, AND AN ORDER GRANTING
          THE RELIEF SOUGHT MAY BE ENTERED BY DEFAULT.

          ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE
          CLERK OF THE UNITED STATES BANKRUPTCY COURT AT 1205
          TEXAS AVE., LUBBOCK, TX 79401-4002, BEFORE CLOSE OF BUSINESS
          ON FEBRUARY 5, 2019, WHICH IS AT LEAST 14 DAYS FROM THE
          DATE OF SERVICE HEREOF. A COPY SHALL BE SERVED UPON
          COUNSEL FOR THE MOVING PARTY AND ANY TRUSTEE OR
          EXAMINER APPOINTED IN THE CASE. ANY RESPONSE SHALL
          INCLUDE A DETAILED AND COMPREHENSIVE STATEMENT AS TO
          HOW THE MOVANT CAN BE “ADEQUATELY PROTECTED” IF THE
          STAY IS TO BE CONTINUED.

TO THE HONORABLE ROBERT L. JONES, U.S. BANKRUPTCY JUDGE:

          COMES NOW, AimBank, and files its Motion for Relief from the Automatic Stay and to

Allow Setoff and would show as follows:

                                            FACTS

A.        Reagor-Dykes Toyota

          1.         On January 20, 2017, Reagor-Dykes Plainview, LP d/b/a Toyota (“R-D

Plainview”) executed a Promissory Note and Security Agreement in the original principal sum of

$500,500.00 (Loan No. XXXX623) (the “R-D Plainview Note”). A true and correct copy of the

R-D Plainview Note is attached hereto as Exhibit A. Also on January 20, 2017, R-D Plainview

executed a Commercial Loan Agreement, a true and correct copy of which is attached here as

Exhibit B. The R-D Plainview Note is secured by a certificate of deposit (CD No. XXXX671)

held by AimBank in the name of R-D Plainview (the “R-D Plainview CD”). See, Exhibit A, p.2,

¶ 11.A.(1) and p.3, ¶ 11.D.(2). The Security Agreement contained within the R-D Plainview Note

also secures all debts owed by R-D Plainview to AimBank. See, Exhibit A, p.2, ¶ 11.A.(2).


                                               2
20170101.20180569/3177017.1
Case 18-50214-rlj11 Doc 893 Filed 01/22/19             Entered 01/22/19 16:24:09     Page 3 of 12




          2.         As of January 9, 2019, the outstanding balance of the R-D Plainview Note was

$453,364.09 with accrued and unpaid interest of $7,933.88 for a total due of $461,297.97. As of

January 20, 2019, there will be $514,477.58 on deposit in the R-D Plainview certificate of deposit.

After offsetting the R-D Plainview CD against the R-D Plainview Note, there will remain

approximately $53,179.61.

          3.         On July 31, 2018, R-D Plainview, Reagor-Dykes Snyder, L.P. (“R-D Snyder”) and

others were engaged in an alleged check kiting scheme. In connection therewith, R-D Plainview

issued checks payable to R-D Snyder on July 31, 2018, drawn on an account at Vista Bank. The

R-D Plainview checks were:

          a)         Check 36651 in the amount of $65,235.00
          b)         Check 36652 in the amount of $72,675.00
          c)         Check 36653 in the amount of $61,704.00
          d)         Check 36654 in the amount of $63,561.00
          e)         Check 36655 in the amount of $72,637.00
          f)         Check 36656 in the amount of $60,573.00
          g)         Check 36751 in the amount of $76,947.00
                                                 $473,332.00


(Collectively, the “R-D Plainview Dishonored Checks”.) True and correct copies of the R-D

Plainview Dishonored Checks are attached hereto as Exhibit E. Each of these checks were

returned by R-D Plainview’s drawer bank (Vista Bank) with the notation “Frozen/Blocked

Account.” Due to Vista Bank’s dishonor, AimBank is the owner and holder of each of the above

R-D Plainview Dishonored Checks and R-D Plainview is obligated to AimBank on the R-D

Plainview Dishonored Checks in the amount of $473,332.00. AimBank’s security interest in the

R-D Plainview CD also secures R-D Plainview’s debt to AimBank due to R-D Plainview’s breach

of warranty on the R-D Plainview Dishonored Checks. See, Exhibit A, p.2, ¶ 11.A.(2) and p.3, ¶

                                                   3
20170101.20180569/3177017.1
Case 18-50214-rlj11 Doc 893 Filed 01/22/19               Entered 01/22/19 16:24:09      Page 4 of 12




11.D.(2). Due to R-D Plainview’s breach of its warranty, AimBank is entitled to a common law

setoff against the remaining balance of the R-D Plainview CD after the setoff against the R-D

Plainview Note balance against the amount of the R-D Plainview Dishonored Checks.

Accordingly, the approximate amount of the balance due R-D Plainview CD after paying the R-D

Plainview Note is $53,179.61, which secures R-D Plainview’s obligation to AimBank on the

$473,332.00 R-D Plainview Dishonored Checks.

B.        Reagor-Dykes Ford/Lincoln

          4.         On December 22, 2016, Reagor-Dykes Auto Company, LP d/b/a Ford Lincoln

(“R-D Auto”) executed a Promissory Note in the original principle balance of $410,827.42 (Loan

XXXX417) (the “R-D Auto Note”), which was a renewal of a Note dated December 14, 2012 in

the original amount of $500,000.00. A true and correct copy of the R-D Auto Note is attached

hereto as Exhibit C. Also on December 22, 2016, R-D Auto executed a Commercial Loan

Agreement, a true and correct copy of which is attached hereto as Exhibit D. The R-D Auto Note

is secured by a certificate of deposit (CD No. XXXX060) held by AimBank in the name of R-D

Auto (the “R-D Auto CD”). See, Exhibit C, p.2, ¶ 11.A.(1) and p.3, ¶ 11.D.(2). The Security

Agreement contained within the R-D Auto Note also secures all debts owed by R-D Auto to

AimBank. See, Exhibit A, p.2, ¶ 11.A.(2).

          5.         As of January 9, 2019, the outstanding principal balance of the R-D Auto Note was

$355,171.95 plus accrued and unpaid interest of $5,878.10 for a total due of $361,050.05. As of

January 14, 2019, there will be $540,018.01 on deposit in the R-D Auto CD. After offsetting the

R-D Auto CD against the R-D Auto Note, there will remain approximately $178,967.96.




                                                     4
20170101.20180569/3177017.1
Case 18-50214-rlj11 Doc 893 Filed 01/22/19             Entered 01/22/19 16:24:09     Page 5 of 12




          6.         On July 31, 2018, R-D Auto, Reagor-Dykes Snyder and others were engaged in an

alleged check kiting scheme. In connection therewith, R-D Auto issued checks payable to R-D

Snyder on July 31, 2018, drawn on an account at Vista Bank. The R-D Auto checks were:

          a)         Check 70554 in the amount of $74,535.00
          b)         Check 70555 in the amount of $59,110.00
          c)         Check 70556 in the amount of $62,504.00
          d)         Check 70557 in the amount of $66,748.00
          e)         Check 70558 in the amount of $68,110.00
          f)         Check 70581 in the amount of $60,757.00
          g)         Check 70582 in the amount of $71,928.00
                                                 $463,692.00


(Collectively the “R-D Auto Dishonored Checks”). True and correct copies of the R-D Auto

Dishonored Checks are attached as Exhibit F. Each of these checks were returned by R-D Auto’s

drawer bank (Vista Bank) with the notation “Frozen/Blocked Account.” Due to Vista Bank’s

dishonor AimBank is the owner and holder of each of the above R-D Auto Dishonored Checks

and R-D Auto is obligated to AimBank on the R-D Auto Dishonored Checks in the amount of

$463,692.00. AimBank’s security interest in the R-D Auto CD also secures R-D Auto’s debt to

AimBank due to R-D Auto’s breach of warranty on the R-D Auto Dishonored Checks. See, Exhibit

C, p.2, ¶ 11.A.(2) and p.3, ¶ 11.D.(2). Due to R-D Auto’s breach of its warranty, AimBank is

entitled to offset the balance due to R-D Auto on the R-D Auto CD payment of the R-D Auto Note

against the amount of the R-D Auto Dishonored Checks. Accordingly, the approximate amount

of the balance due R-D Auto CD after paying the R-D Auto Note is $178,967.96, which secures

R-D Auto’s obligation to AimBank on the $463,692.00 R-D Auto Dishonored Checks.




                                                   5
20170101.20180569/3177017.1
Case 18-50214-rlj11 Doc 893 Filed 01/22/19              Entered 01/22/19 16:24:09         Page 6 of 12




          7.         On July 27 and 30, 2018, R-D Snyder, R-D Auto and others were engaged in an

alleged check kiting scheme. In connection therewith, R-D Snyder issued checks payable to R-D

Auto, as follows:

          a)         Check 3153 in the amount of    $84,663.00
          b)         Check 3135 in the amount of    $97,245.00
          c)         Check 3145 in the amount of $105,225.00
          d)         Check 3147 in the amount of    $82,387.00
          e)         Check 3149 in the amount of $130,363.00
                                                   $499,883.00
R-D Snyder also issued checks payable to R-D Plainview, as follows:

          a)         Check 3134 in the amount of    $77,148.00

          b)         Check 3139 in the amount of    $99,110.00

          c)         Check 3141 in the amount of $119,350.00

          d)         Check 3144 in the amount of    $79,850.00

          e)         Check 3152 in the amount of    $89,765.00

                                                   $465,223.00

(Collectively, the “R-D Snyder Checks”.) Due to the R-D Plainview Dishonored Checks and R-

D Auto Dishonored Checks, there was insufficient funds in the R-D Snyder bank account to pay

the R-D Snyder Checks. Unaware that the R-D Plainview Dishonored Checks and the R-D Auto

Dishonored Checks would be returned, AimBank paid R-D Auto on the R-D Snyder Checks

thereby resulting in an overdraft of R-D Snyder’s bank account.

                                          LEGAL ARGUMENT

          8.         a)       AimBank is a Secured Creditor.     Section 506(a)(1) states that a creditor

has secured status if the allowed claim of the creditor is secured by a lien against property of the

estate or if the property of the estate is subject to setoff under Section 553 of the Code. 11 U.S.C.


                                                    6
20170101.20180569/3177017.1
Case 18-50214-rlj11 Doc 893 Filed 01/22/19                 Entered 01/22/19 16:24:09        Page 7 of 12




§506(a)(1). Here, AimBank has both a lien against property of the estate and a right of setoff

against that property. Pursuant to Sections 9.310(b)(8), 9.314(a) and 9.104(a)(1) of the Texas

Business and Commerce Code (the “Texas UCC”), AimBank has a perfected security interest in

both the R-D Plainview CD and the R-D Auto CD to secure the respective Notes and Dishonored

Checks.

                     b)       Setoff. Section 553(a) provides that Title 11 does not affect the right of a

creditor to offset a mutual debt owing by such creditor to the debtor that arose before

commencement of the case. 11 U.S.C. § 553(a). Under common law, the right of setoff arose by

operation of law as a practical tool to eliminate unnecessary transactions between parties holding

mutual debts. In re Braniff Airways, Inc., 42 B.R. 449, 448 (Bankr. N.D. Tex. 1984). The U.S.

Supreme Court has explained, “[t]he right of setoff (also called “offset”) allows entities that owe

each other money to apply this mutual debts against each other, thereby avoiding the absurdity of

making A pay B when B owes A.” Citizens Bank of Maryland v. Strumpf, 516 U.S. 16, 18, 116

S.Ct. 286, 133 L.Ed.2d 258 (1995). In Texas, a bank has a common law right to apply its

customer’s deposit account against the customer’s debt due the bank. Mauriceville Nat. Bank v.

Zernial, 892 S.W.2d 858, 860 (Tex. 1995) (citing Bandy v. First State Bank, Overton, Tex., 835

S.W.2d 609, 618 (Tex. 1992). Section 553 recognizes the long-standing principle of the right of

setoff of mutual debts. “Although no federal right of setoff is created by the Bankruptcy Code, 11

U.S.C. § 553(a) provides that, with certain exceptions, whatever right of setoff otherwise exists is

preserved in bankruptcy.” Strumpf, 516 U.S. at 18.

          c)         Automatic Stay. Section 362(a)(3) creates a stay of any act to obtain possession

of or exercise control over property of the estate. Section 362(a)(7) creates a stay from setoff of




                                                       7
20170101.20180569/3177017.1
Case 18-50214-rlj11 Doc 893 Filed 01/22/19               Entered 01/22/19 16:24:09      Page 8 of 12




any debt owing to the debtor that arose before the commencement of the case. 11 U.S.C.

§ 362(a)(3) and (7).

          d)         Mutual Debtor/Creditor Relationship Exist. When R-D Plainview and R-D

Auto deposited funds into AimBank, represented by the respective certificates of deposit, a

creditor-debtor relationship was created by the depositor and the bank. Gilbert v. First Nat. Bank

of Jackson, Miss., 633 F.2d 686 (5th Cir. 1980); Lenk v. Guaranty Bank, 360 S.W.3d 511, 516

(Tex. App. – San Antonio 2008), aff’d, Fed. Deposit Ins. Corp. v. Lenk, 361 S.W.3d 602 (Tex.

2012) (citing Mesquite State Bank v. Prof’l Inv. Corp., 488 S.W.2d 73, 75 (Tex. 1972).

          e)         Loan/CD Setoff. As to the two loans, the setoff is straightforward. R-D Plainview

owes AimBank $461,297.97 and AimBank owes the R-D Plainview $514,477.58; and R-D Auto

owes the Bank $361,050.05 and AimBank owes R-D Auto $540,018.01. Furthermore, there is an

express grant of a security interest by both R-D Plainview and R-D Auto in the certificates of

deposit. Possession of the cash perfects AimBank’s security interest in the two certificates of

deposit. Tex. Bus. & Com. Code § 9.203(a); First Nat’l Bank v. Lone Star Life Ins. Co., 524

S.W.2d 525, 528 (Tex. App. – Dallas 1975), writ ref’d n.r.e. 529 S.W.2d 67 (Tex. 1975) (per

curiam).

          9.         Article 3 of Texas Business & Commerce Code. Pursuant to Section 3.301 of the

Texas UCC, AimBank, as the holder of the R-D Plainview Dishonored Checks and the R-D Auto

Dishonored Checks, is entitled to enforce those items. Tex. Bus. & Com. Code. §3.301.

          a)         The R-D Plainview Dishonored Checks, made payable to R-D Snyder, were each

deposited into R-D Snyder’s account at AimBank, subsequently returned by Vista Bank without

payment. R-D Plainview breached its warranty under the Texas UCC and is liable to AimBank in

the amount of the R-D Plainview Dishonored Checks. AimBank gave credit to R-D Snyder on the



                                                     8
20170101.20180569/3177017.1
Case 18-50214-rlj11 Doc 893 Filed 01/22/19             Entered 01/22/19 16:24:09       Page 9 of 12




R-D Plainview Dishonored Checks, and AimBank is the owner and holder of the R-D Plainview

Dishonored Checks. Accordingly, R-D Plainview is obligated to AimBank on the R-D Plainview

Dishonored Checks. Tex. Bus. & Com. Code § 3.412. R-D Snyder, as an endorser, is also liable

to AimBank. Tex. Bus. & Com. Code § 3.415. Based on the above, R-D Plainview owes AimBank

$473,332.00 on the R-D Plainview Dishonored Checks.               AimBank owes R-D Plainview

approximately $53,179.61 on the balance of the R-D Plainview CD after allowing the setoff related

to the R-D Plainview Note. The amount owed AimBank by R-D Plainview far exceeds the

remaining balance owed by AimBank on the R-D Plainview CD.

          b)         The R-D Auto Dishonored Checks were payable to R-D Snyder each of which were

deposited into R-D Snyder’s account at AimBank and which were returned by Vista Bank without

payment. R-D Auto breached its warranty under the Texas UCC and is liable to AimBank in the

amount of the R-D Auto Dishonored Checks. AimBank gave credit to R-D Snyder on the R-D

Auto Dishonored Checks, and AimBank is the owner and holder of the R-D Auto Dishonored

Checks. Accordingly, R-D Auto is obligated to AimBank on the R-D Auto Dishonored Checks.

Tex. Bus. & Com. Code § 3.412. R-D Snyder, as an endorser, is also liable to AimBank. Tex.

Bus. & Com. Code §3.415. Based on the above, R-D Auto owes AimBank $463,692.00 on the

R-D Auto Dishonored Checks. AimBank owes R-D Auto approximately $178,967.96 on the

balance of the R-D Auto CD, after allowing the setoff related to the R-D Auto Note. The amount

owed AimBank by R-D Auto far exceeds the remaining balance owed by AimBank on the R-D

Auto CD.

          10.        Money Had and Received. R-D Plainview, R-D Auto and R-D Snyder, together

with numerous other Reagor-Dykes entities were, prepetition, engaged in an alleged check kiting

scheme which involved the entities issuing checks to their affiliates thereby utilizing the “float” to



                                                   9
20170101.20180569/3177017.1
Case 18-50214-rlj11 Doc 893 Filed 01/22/19                  Entered 01/22/19 16:24:09      Page 10 of 12




 create the illusion of valid transactions. R-D Snyder issued five checks to R-D Plainview

 aggregating $465,223.00 and five checks to R-D Auto aggregating $499,883.00. Accordingly,

 R-D Plainview and R-D Auto holds funds which in equity and good conscience belong to

 AimBank under the principles of “money had and received.” Saints v. Miller, 243 S.W.2d 686,

 187-88 (Tex. 1951); Greer v. White Oak State Bank, 673 S.W.2d 326, 329 (Tex. App. – Texarkana

 1984, no writ); Compass Bank v. Villarreal, 2012 WL 13046325 at *5 (S.D. Tex. Mar. 13, 2012).

 R-D Plainview and R-D Auto have been unjustly enriched by receiving money through the alleged

 check kite scheme that in equity and good conscience belongs to AimBank. The principle of

 money had and received allows for AimBank to recover against R-D Plainview and R-D Auto

 under an unjust enrichment claim of “money had and received.” Saints v. Miller, 243 S.W.2d at

 678-88; Compass, 2012 WL 13046325, at *5. Furthermore, Section 3.418(b)(1) of the Texas

 Business & Commerce Code allows for AimBank to recover against R-D Plainview and R-D Auto

 on the R-D Snyder checks paid by mistake. Tex. Bus. Com. Code. §3.418(b)(1).

           11.        Pursuant to Section 362(d)(1) and (2), the automatic stay should be lifted for cause

 because neither Debtor (R-D Plainview nor R-D Auto) has equity in the respective certificates of

 deposit and neither certificate of deposit is necessary for an effective reorganization. Cause exists

 under § 362(d)(1) because the prepetition conduct of the various Reagor-Dykes entities regarding

 their kiting scheme was fraudulent and placed numerous banks in the position of funding checks

 that the management of Reagor-Dykes knew or should have known was simply a game of musical

 chairs. The claims of AimBank against R-D Plainview and R-D Auto far exceed the value of the

 R-D Plainview CD and the R-D Auto CD. The interest accrual on the R-D Plainview Note and

 the R-D Auto Note is greater than the interest accrual of the respective certificates of deposit and




                                                       10
 20170101.20180569/3177017.1
Case 18-50214-rlj11 Doc 893 Filed 01/22/19                  Entered 01/22/19 16:24:09      Page 11 of 12




 AimBank, being an under-secured creditor, lacks adequate protection of its interests in the

 respective certificates of deposit.

           12.        Neither the R-D Plainview CD nor the R-D Auto CD is necessary to either Debtor

 because the certificates of deposit secure AimBank’s claim and no effective reorganization is

 possible. The Debtors cannot utilize the cash of the certificates of deposit because they do not

 substitute collateral to adequately protect AimBank.

           13.        Setoff is appropriate to allow AimBank to offset a) the R-D Plainview CD against

 the balance due on the R-D Plainview Note and then towards the R-D Plainview Dishonored

 Checks; and b) the R-D Auto CD against the R-D Auto Note and then towards the R-D Auto

 Dishonored Checks.

           WHEREFORE, PREMISES CONSIDERED, AimBank prays that the automatic stay be

 lifted so that AimBank may:

           a)         Offset the R-D Plainview CD against the obligations of R-D Plainview on the R-D
                      Plainview Note and the R-D Plainview Dishonored Checks;

           b)         Offset the R-D Auto CD against the obligations of R-D Auto on the R-D Auto
                      Note and the R-D Auto Dishonored Checks; and

           c)         that the Court grant AimBank such other and further relief as is just.




                                                       11
 20170101.20180569/3177017.1
Case 18-50214-rlj11 Doc 893 Filed 01/22/19           Entered 01/22/19 16:24:09      Page 12 of 12




                                              Respectfully submitted,

                                              HIRSCH & WESTHEIMER, P.C.

                                              By: /s/ Michael J. Durrschmidt
                                                     Michael J. Durrschmidt
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                                                     Texas Bar No. 24105799
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                                              BOERNER, DENNIS & FRANKLIN, PLLC

                                              By: /s/ Jeff R. Lashaway
                                                     Jeff R. Lashaway
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                                                     P.O. Box 1738
                                                     Lubbock, Texas 79408
                                                     Telephone: 806-763-0044
                                                     Facsimile: 806-763-2084
                                                     E-mail: jlashaway@bdflaw.com
                                              ATTORNEYS FOR AIMBANK

                               CERTIFICATE OF CONFERENCE

        On January 17, 2019, the undersigned transmitted a copy of this Motion to Debtors’
 counsel via email in an attempt to create a dialogue regarding same. On the morning of January
 22, 2019, I called Ashley Ellis and left a detailed message; however, I have not received a return
 phone call.

                                                 /s/ Michael J. Durrschmidt
                                                 Michael J. Durrschmidt

                                 CERTIFICATE OF SERVICE

         I, Michael J. Durrschmidt, hereby certify that on the 22nd day of January, 2019, a copy of
 the foregoing was served via first class mail, postage prepaid, and/or via the Clerk of the Court
 through the ECF system.

                                                 /s/ Michael J. Durrschmidt
                                                 Michael J. Durrschmidt


                                                12
 20170101.20180569/3177017.1
